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                                EXHIBIT D




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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK

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MARIAI.I LOPEZ,
                                                                                                                                             MAS
                                                                                                 Plaintiff,

                                                       -against,                                                    RATRO

NYC DEPT OF IIOMELESS SERVICES, NYC HUMAN                                                                        Indcx No. 100556/2018
RESOLIRCES ADMINISTRATION, PRO.IECT
RENEWAL INC, QPS SECURITY INC, WIN INC,
CHRISTINE C. QUINN,

                                           .                                              Defendants




                                    THOMAS B. ROBERTS, an attorney duly admitted to practice before                                            the

Courts of the State of New York, hereby affirms the following to be true under penalty of perjury

pursuant to Rule 2106 of the Civil PrzicticeLaw and Rules:

                                    1.         I alll an Assistant Corporation Counsel in the office of Zachary                        W. Carter,

Corporation Counsel                            of the City of New York,                               a{torney   for Defendants New York City

Department                         of   Homeless Services and New                           York City Human            Resources Administration

("Municipal Defendants") in the above-captioned proceeding.

                                    Z.         I   submit this affrrmation                       in    opposition   to Plaintiffs   motion   for   a


temporary restraining order.

                                    3.         This is the foulth proceeding Plaintiff has filed challenging her placements

by the New York City Department of Homeless Services ("I)}IS") within DHS'sheltersystem.

In her prior proceedings, Plaintiff repeatedly sought the same temporary relief she apparently

seeks fi.orn this Court: to be reassigned to the Marsha's Hor.rse shelter in the Bronx, where she

was assigned during April and May 2017.
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                 4.         Sigce removing Plaintiff from Marsha's House on or about May 31,2Q17,

DHS has reassigned plaintiff to two.different women's shelters, first to the WIN West women's

shelter   in Manhattan. When Plaintiff         refused that assignment, DHS reassigned her to the

women,s shelter at the park Slope Armory. Plaintiff also lefused that assignment, and Plaintiff

has not spent a niglit in the DHS shelter system since leaving Marsha's H<luse near l"he end         of

May 2A17.

                 5.        Since May 31,2017, tlu'ee justices or judges have heard Plaintifls

motions for a TRO and each has denied the motions'

                 6.        Justice Jaffe of this Court denied Plaintiff s motion for temporary relief

and dismissed plaintiff's Article 78 proceeding in her June 14,2017 decision and
                                                                                 judgment that

is attached as Exhibit A hereto in     ttopg                                                              ,




                                                                        judgment.
tryigg{Sg$r$4l, t0063212017. Plaintiff did not appeal this decision and
                 l.        Justice Bannon    of this Courl denied Plaintifls motion for similar
temporary relief on June 29,2017 and dismissed Plaintiff s Article 78 proceeding in her October

3,2017    t-rrder that   is atrached as Exhibit B herdto in IrueA v,Nglv-Yg$;Cj'tll'Dtpfitrn'gnt'p,f,

I-Jorngls.ls Srgr./iee$,10087112017.    Plaintiff did not appeal this order.

                 8.        Judge Caproni of the Southern District of New York has twice denied

plaintiff s motjons for a TRO, and Judge Batts (who heard one of Plaintiff s emergency motions

while Judge Caproni was unavailable) has denied it once. As reflected in the docket          sheet   of

l.opez v. N-ew York      city I)ept. of Hon0c.lq$ seryice;-st al, 1l cv 3014 (SDNY), a copy of which

is attached as Exhibit C hereto, Judge Capproni denied plaintiff s tnotions for a TRO on May      3 1,


Z0Il   and again recently on March 30,2018. Judge Batts denied such relief on June 15,2017.

See docket entries for those dates'



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                g.       Plaintiff raises the same arguments and seeks essentially the same

temporary relief that has been repeatedly rejected.

                10.      Plaintiff again fails to demonstrate a likelihood of   success on the merits,


that she will be irreparably harmed, that the equities tip in her favor or any other requirement for

the grant of preliminary relief.. Far from seeking to preserve the status quo, Plaintiff seeks the

ultimate relief and a change in the status.

                I   1.   Accordingly, the motion for   a   TRO should be denied.

Dated:   New York, New York
         May 10,2018



                                                           THOMAS B. ROBERTS




                                                 a
                                                 J
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                          EXHIBIT A
                                  Case 1:18-cv-04293-MKV-OTW Document 1-4 Filed 05/14/18 Page 6 of 36AL
                                                                                                                                                     TlZabon{t
                                  SUPREME COURT OF THE STATE OF NEW YORK
                                             NEWYORK COUNTY
                                                           '.Pi                   .JAFFE
                                                                                               C,                                      PART
                        PRESENT:

                                                                                                                                           loo 6'..=;:-,,
                                                          rvl                                                                                        ^-t7
                                                                                                                                       INDEXNO......';. '

                                                                                                                                       MOTIOI{ DA




                                     C_                                 .f:             AW                             $rv*us          MOTION SEQ.




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                    "
                        Snrwerlng Affidavlta    -    lyflllt3    *

                        Upon the foregolng paPors, lt is ordercd that this motion is




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 SUPREME COURT OF THE STATE OF NEW YORK
 COLINTY OF NEW YORK r IAS PART 12

 In tlre Matter of the Application of                               Index no.100632117"
 MARIAH LOPEZ,
                                                                    DECISION AND JU.DGMENT
                                         Petitioner,

                         -against-



NYC DEPARTMENT OF FIOMELESS SERVICES,
PROJECT RFNEWAL,

                                         Respondents.,

BARI]ARA JAFFtr, JSC:

        Petitioner seeks an older directing respondent NYC Depaftmettt of Homelebs Services

(DHS) to "revel'se its decision to approve Project Renewal's request to lransfer [herJ from

Marsha's Place Shelter (for transgender people)." (Verified Pbtition). She alleges that the

transfcr constitutes a retaliatory measure against her for having obtained an order from the                 !l


Southem District of New York enjoining respondents from refusing the enh'y of her servicedog

into jr4arsha's Place. Since then, she contends, she has been treated differently by staff in that

they documelt her alleged infractions more-than they do those of other cliettts, restrlting in      a


"paper trail" and her transfer out of J\4arsha's Place, which transfer she claims resrtlted fiom her

objection to tbe mistreatment of transgender clients by food service staff, She accuses Proj'ect

Rencwal's director of inappropriatcly shaling rvith her personal details about himself. (/d).

Petitioner also seeks a femporaly stay   21,1 an order   preliminarily errjoining her transfet'. (Order to

Slrow Cause, dateci May 11,2017).

                                         I.   BACK.GROIINT)

       Annexecl to the petition are respondents' Client Notification of Transfer, dated May         10,
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 2017 , setting   forth   a shelter   client's riglit to a review of the   re   asolls for a transfer, a Shelter Client


Transfer Refenal form, clated May I 7 ,201J , by which             pe   titioner was notified of her transler           as   of

that day, arrd a copy of the aforementioned federal femporary                   re   straining ordet, dated April27,

 2011,which reflects that it was issued "without prejudice to the Defendants' and Marsha's

House's right to require fpetitioner] to comply with all applicable shelter rules and City and State

regulations ." (Mariah Lo.pez v City t2[New York,lJS Dist Ct, SD                      NY, 17cv3014, Caproni,      J',



"" "':::*
                    rz,     z1rJ
                               ,whe'      the pa'ties appeared before me with respect to the requested stay,

petitioler argued that      she should not bc forced to leave Jvlarsha's Place and take up lesidence at

WIN West Wornen's Shelter ryN West)                  as two 11nn-sgender residents          of that shelter had

recently reporled being assaulted there. (Transcript of proceedings, May 12,2017)' According to

petitioner, her fear of being assaulted at WIN West and of again being placed in an environmetrt

wlrere, ii'clisr.espected or,attackecl, hcr "post-traumatic stress disorder" and "irnpulse control

disorder" could result in her physically defending herself. ThLts, she claimecl that being

transferred from Marsha's Place will result in an ilreparable injury which excuses her from any

obligatiop to exhaust het administrative remeclies beforc seeking judicial review of DHS's

detennination. She added that she lacks any option but to pelfotm "sex work" if she cannot

rernain at Marsha's PJace, and claimed a right to be r.vith other transgender people there and not

be forced into a shelter for "cis       ol legal females."

        W6ilc she.admits having threatened staff at lvlarsha's Place, sle observed that she has not

assaultecl anyone, She reiterated and refined her position as a fear of being forcecl by

discriminatory behavior to defend herself and thereby be exposed to polential crirtrinal charges,


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  antl distinguished the discriminatory conduct directed against transgender people by food sen,ice

  staff at Marsha's Place from the violence at WIN West.

          Notwithstanding fetitioner's fear of being transfeffed to WIN West, respondents insist

 that it is safe given the police plotection it affords, and is thus more suitable fol petitioner, who

 has engaged in thleatening conduct at Marslia's Place, where there is no police presence. They

 assertcd tlrat there is no evidence of any assaults at WIN West nor does thele appear to be            a


 history or pattem of incidents at WIN West related to transgencier inclividuals, otherwise

 observing that criminal concluct occurs "at pretty much evely single shelter facility within New

 Yrrrk Cil.y," ancl lltat tltere is no guarantee of safety   al. any   partiuulal shelter. Although staff

 members at Marsha's Place have tried to work with petitioner, respondents reported that they do

 not feel safe as a result of her confrontations with thern.

         Respondents expressed willingness to reach out to WIN We.st to ensure that a bed was

 available to petitioner and offered her assistance in utilizing security procedures there, and

observed that'shelters are designated for women solely accor',Jing to their gender identity,

although they acknowledged that Marsha's Place is            a   uniquely LGBTQ shelter'. While petitioner:

lvas exemptccl frorn the below-30 age requirement at N4arsha's Place, respondents maintainecl

that given her repeated violation of the shelter rules and regulations contained withjn a writlen

contract she signed witli Pro.ject Renewal, she no longer qualifies.

        Respondents al.so argued that DFIS has the discretionary autholity 1o elfect tlansfers

between shelters, and that if a shelter need is not being met, such a.s olre related to safety, timel.v

notice anci   a pre-transfer   hearing are not required. Rather, a client may request a fair hearing to

challenge the transfer post-transfer. Civen the availability of that rernedy, respondents asserted,


                                                      J-
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 petilioner is not entitled to any injunctive reliel, having failed to exltattst her administlative fair-

 healing remedy, and claim that the status qrto ante is petitionel's assignment to WIN West, even

 though slte ref,rsed placement there.

             I ordered responclents to accommodate petitioner at Marsha's Place for the weekend                 ancl
.
directed them         to apperon May     t5   fol   consicleration of petitioner'.s order to slrow cause.

             On May i 5, petitioner characterizecl the r,veekencl at Marsha's Place as "without inciclent,"

although slre complained about not having been fed tlrat monring. (Transcriptof proceedings,

dated May I 5,2017). By contrast, responclents reporled that over the weekend, six incidents

wcrc rcportcd conccrning tlrreats leveled at staff members by petilioller,             arrcl that   petitiorrer was

given cereal that morning as the kitchen had nrn out of eggs when she appeared for breakfast near

the end of the breakfast peliod. Nonetheless,l tenrpolarily stayed respondents from enforcing the

transferral of petitioper to WIN West, conditioned on her conrpliance with respondents' rules and

regulations. I signecl the orcler to show cause and the parties were directed to return to court,on

Ivlay   31   .   Respondents were given until NIay 24 to file their answers to the petition.

             On May 24, respondents     filed and served their verified attswers.

             By letter dafed May 25,2017, DFIS advised that on May 24,the police hacl been called to

Marsha's Place and petiiioner was tlrereupon attested. As a resltlt, and given my order

copditioning the stay of her iransier to WIN West on her compliance with tlte shelter's rules and

regulations, DHS "slrspencled" petitioner frotn sheltel services for seven days, *1tt.n according to

counsel, is the standard procedure fbllowed rtnder tlre circutnstallce.s.

        -   On    May 26,2017, petitioner brought a new orcler to shorv cause        ancl petition, seeking an


order compelling Di{S to pernrit her to teturn to Marsha's Place. Another justice of tbis cotrrt


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  denied her request for a stay, and scheduled the application to be heard by me on May 31,2017.

             On May 31, DHS advised that petitioner's May 24 arrest resulted in the lodging of felony

 and lesser charges. ( franscript of proceedings, dated i\4ay       3I   , 2017). It was agreed that the

 underlying facts would not be discussed to avoid any incriminatory statements frorn petitioner,

 although she maintained that the charges loriged against her are the exaggerated ploduct of

 DHS's urging staff at lvlarsha's Place to press charges against her in an attempt to cleny her "fair

 access to this Court and its procedures," and she complainecl that counsel for DHS was not

 communicating with her. Specifically, she alleged that she had informed him, apparently r.vithout

 response, that there'werri serious safety concems at Marsha's Place. She accused counsel of

 taking advantage of the condition set forth in rny order to show cause that she comply with the

 rLrles   knowing that she would violate them, and thereby rendering her "helpless" in havingio

resort to sex work.

            In response, DI-IS counsel relerenced petitiotrer's "lortg history [of] delialrtly violating

rules and when asked to conrply . . ." refusing to do so, alleging that petitioner has slept with

other clients, burned candles in her loom, brought prohibited wine and food irrto the slielter, and

has a     "long history" of threatening shelter employees. He reporled that petitioner had calied him,

proposing to settle the case by "completely reorganizing the managenrent of Pro.jeot Reuewal;"

which he declined      as   unproductive. It was soon thereafler, he statecl, that occurred the incidents

leading to her an'est and suspension from sen'ices.

           As the suspension rvas to expire that day, DIIS asked that I lift the stay to permit

petitioner's transfer to a different facility in order to avoid her further dislription of Marsha's

Place, and strongiy denied petitioner's suggestion that safety issues were not taken seriousl,v by


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 Projc'ct Renewal. Counsel observed that upon petitioner's retttrn to the shelter on May 26, she

 confronted one of the directors and told him that "she thought she knew where he lived and she

 would have his lucking head blown        off."    He thus contended that a transfer to a shelter with

 better mental health services is appropriate, especially as several staff members refused to come

 to r,vork with petitioner in the building,

         Petitioner additionally complained,that counsel intentionally selved her with DHS's

 verified answer the day she "was made homeless," and that her transfer fi'om lvlalslra'.s           Place


 would "impact[]" her canine sewice animal. Petitioner maintained that all of tlie evidence

 against Jrer cited by responderrts originates from inclividuals whose words are tainted          by   conl'licts

of interest given the departmental investigation she commenced            again.st thenr the previous week.


She denied "sneakirlg" ra,ine into the shelter, as she had only forgotten that she had it, clairned

that she had burned candles in her rooln as part ofa religious observance, and denied that her

concluct endangere<l any client.s, a.majority of whom had signed a pclition calling for the ouster

of the shelter's present director. She asked that I modifu the stay to pl€vent her transfei' to any

facility, not just WIN West, and amend it to extend to        a determination of   hel application,

asserting tlrat the only facility for an open tlansgender person to feel safe frorn harassment is

Marsha's Place.

        Given the incjdents that preceded those allegedly prccipitaling petitioner's anest, rvbich

\ /el-e essentially uncontested except   1o the   extent that petitioner souglit lo excuse tlrem, and

absent a sutficient sho',ving that inrniediate and ineparable iniury would result       if   DI-IS werc not

l'estrained froni transfen'ing petitioner to WIN West,l lifted the stay and marked as fully

submitted petitioner's motion for a preliminary injunction and her petition.


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                                                     II. ANALYSIq

                                            A",Exhrlu,sti ol'b f remedi cs

              Although petitioner seeks a preliminary injunction, she ultimately requests that I review
                                                                                                                    '
the determination of an agency.           "[A]s   a general    principle, absent extraordinary circumstances,

courts are constrained not to interject thdrnselves into ongoing administrative proceedings until

final resolution of those proceedings before the agency." (Galinv Chassin,2lT ADzd 446,447

[l.tDept lggs],citing Doe v         St.   Clare's l{osp. & Health Cir,194 AD2d365,366 [1" Dept

 Igg3l, h, deniecl g2 Ny2d 662). Thus, one seeking such review must first exhaust adrninistrative

lcltctlics. The      exhaustirirr rule is not, however, inflexiblc, as     it   "neecl not be fcrllowed, for


example, when an agency's action is challenged as either unconstitutional or wholly beyond its

grant of po\r/er, or when resort to an administrative renredy would be futile or when its pul'suit

would cause irreparable injury." (Warergate II Apts' v Btffalo Sev'er iuth.,46 NY2d 52,57

Ir   9781).

            Given DHS's broad cliscretionary authority to effect transfers between homeless shelters,

the transfer of petitioner fi.om Malsha's Place to WIN West is neither unconstitutional nor

wholly beyond DHS.'s grant of authority; petitioner's avowed putpose in advocating for others by

verbally threatening staff at Marsha's Place and her complaiuts about shelter sen'ices do not

encloach orr that autholity. As respondents'answers wereto bc filed and servcd ou May 24,they

cannot be laulted for serving,her then. Moreover, her atternpt to minimize the impact of her

tlrreat.s is unpersuasive.

            petitioner also offers no   1'eason   to believe that au efforl to obtain a fair hearing would     be
        .
futile (sce McFaddenv Fonda,148 AD3d 1430,1431                     L3d Dept     2017llno evidence offered


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 substantiating peritioner's contention that his ability to file appeal in accordance rvith

 admini.strative dilective \.vas hindered]), or that a hearing would be other than fair', At that

 hearing, she would have an opportunity to argue and prove her allegatiotrs of retaliatory condttct

 by shelter staff,

               Although it was reported in 2016 that, nationally, 22 percent of transgendel residents of

 homeless shelters were sexually assaulted by staff or other residents,r and notwithstanding

 petitione r's report of hearing from two such recent victitns ui WfN West, hel fear of being

 assaulted there is nonetheless speculative and does not constitute irreparable injury (see eg

Lleytiger v Trombley,2017 WL 1064680, *2 IND NY 2017j [prelinrinary injunction seeking

transfer to different correctional facility denied as plaintiff s concern of possible assault or

mjstreatment speculati veJ; Trowell v Upstate Correctional Facili\t,2016 WL7156559,*8 IND

NY 2016],         ancl cases cired therein [allegations of possible future'assault speculative and thtts


insr,rfficient to establish iircparable hannl), not does her anticipation of having to clcl'entl helself

or others. That she cannot control her impulses does not erititle her to relief, nor does her clairn

that   sl-re   has no clioice but to              "sex work" to avoid being homeless, A professed
                                       "r.gugin
inability to confonn one's conduct to the law or to support oneself itt any capacity other than in

sex wor.k cannot be countenanced as to do so would condone illegality and trnjustifiably ignore

available onsite social services, as well as others such as tlre Urban Justice C-'ettter's Sex Workers

Proj ect (unvw, urbartj usticecenler.olg).




        ' Demoya Gordon. "Transgender People Need Safc anci Dignified Access to Homeless
Sheiters," [-ambda Legal, Feb, 1 6,2016, lrtlps:.,'/wryr'y.lanrhclttJtga],,nlgllrlogl?016021'6-
!'liu$*r-r'irlgljlggill-need-access-to-homel       ess-shelters'

                                                          8
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                                            B.   Plelinrinnry,   irdjrngiion                            l


             Even had petitioner exhausted her administrative remedies, the result is the .sarne. To

 obtain a preliminary injunction, she must demonsttate, by non-conclusoty statetnents, the

 likelihood of snccess on the rnerits, a clangel of ineparable injury, and that the balance of equities

 is in her favor (Vincent C. Alexander, Practice Conrmentaries, McKinney's Cons Laws of New

 York, CPLR 6312,8k78, C6312:1 [2010]). That petitioner is no longer at Marsha's                       Place poses


 no obstacle, as it has been held that injunctive lelief may restore the status quo as it existed

 before 1he defendant's rvrongful act, (Vincent C. Alcxander, Supplementary Practice

 Conrmerrtaries, McKinneys Consol Law- of Ncw York, Ci)LIt 6301, Bk 78, C6301 :1 [2014); Bd.

 o.f Ecl.   oJ'City of New York v Marcus,63 Misc 2d268,271 [Sup Ct, Kings:County I 970], citing

 7-A Weinstein-Korn-Miller        $   6301.16). However, fortheleasons set forth above 0i.8.), namely,

respondcnts' broad discretion and the speculative nature of her fears, petitioner fails to

demonstrate, respectively, a lifelihood ot'success o.ll the merits and in'eparable             injury, And givcn

the indisputable public interest jn the safe administratjon of homeiess shelters, the balance of

cquities here lies in respondents' favor.

            Petitioner''s May 2(>,2017 ordei to show causc and petition, is thus nroot and the

"Prcliminary Report" annexed to it is not reviervecl        as   it   aclciresses issue s beyoncl the purview   of

her application and is neither signed nor notarized.

                                             I]I. CONCL{.]SION
            As a se lf-describecl expelienced advocate whose professcd goal is to refomr the s]relter

system as it relates to transgender individuals, it should come as no surprise to petitioncr that a

ntore nuancecl apploach to reaching her goal may be mot'e productive. To the extent that her


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 conduct may be characterized as civil disobedience, under the circunrstances.presented here, she

 is herself to blame for the consequences of her conduct. (See United States v Kroncke,459 Fzd

 697,703 [8tli   Cir lg72l["Among philosophers        and religionists throughout the ages there has


been an incessant stream of discussion as to when,        if   at all,   civil disobedience, whether by

passive refusal to'obey a larv or by its active breach, is morally justified. Horvever, they have

been in general agreement that while in restricted cit'cumstances a motally motivated act contrary

to law may be ethically justified, the action must be non-vjolent and the actor trrust accept             tlre


penalty fbr his action, In other rvords, it is commonly conceded that the exercise of a moral

judgment based upon individual standards does not catry with it )egaljustification or imrnunity

from punishment fbr breach pf the law."]).

        Accordingly, it is hereby

        ORDERED and ADJUDGED, that the petition is denied in its entirety; it is further

        ORDHltlrlJ and ADJUDGED, that petitioner's May 26,2017 order to show cause and

petition are denied   as moot and disrnissed; ancl   it is further

       ORDERED and ADJUDGED, that the proceeding is dismissed.

                                                ENTERED:



                                                                          C


I)ATED:          .lune 14,2017
                 Nerv York, New York




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                            SUPREME COURT OF THE STATE OF NEW YORK
                                      NEWYORK COUNTY

                 PRESENT:          '1    -...   !   -:   !   !   ,,
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              Upori tho foregolng papsrs, it is ordered thet thig motlon ls




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          Case 1:18-cv-04293-MKV-OTW Document 1-4 Filed 05/14/18 Page 18 of 36




                                     EXHIBIT B




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                       Case 1:18-cv-04293-MKV-OTW Document 1-4 Filed 05/14/18 Page 19 of 36



                                                SUPREME COURT OF THE STATE OF NEW YORK
                                                           NEW YORK COUNTY

                 PRESENT: Hon. . Nancy M. Hann.gn-                           .                    PART        &
                                           Justice

                    MARIAH LOPEZ                                                                  TNDEX NO.       .   100871-17.

                                                   -v-                                            MOTION DATE 9-28.17
                    NEW YORK CITY DEPARTMENT OF                                                   MOTION SEQ. NO. OO1
                     HOMELESS SERVICES

                                                                                                  ORDER
                4!l1!-.|'r::::::-:lI-lf'_-




                        On June 29,2017, the petitioner in this CPLR article 78 proceeding appeared and argued in
                favor of a temporary restraihing order. The respondent argued in opposition. Temporary relief was
                denied, and argument on the petition was schedufed for July 27,2017. The respondent appeared but
                the petitioner failed to appear on that date. The matter was adjourned tJ. August 24, 2O17 ,lo provide
               the petitioner with another opportunity to appear and argue in favor of the petition. On August 24,2017,
               the petitioner again failed to appear. The matler was adjourned with a final date of September 28,
               2017. The order issued on that date cautioned the petitioner that her failure to appear on September
               28,2017, would result in denial of the petition and dismissal of the proceeding. On that date, the
               5espondent appeared but the petitioner did not. Neither the court nor the respondent received any
               communication from the petitioner. Consequently, the action is dismissed pursuani tct 22 NYCRR
       za      202.27 , which provides that, "[aJt any scheduled call of a calenddr or at any conference, if all parties do
    o
    o
ru<            not appear and proceed or announce their readiness to proceed immediately or subject to the
(j, lu
FE             engagement of counsel, the judge may note the default on the record and enter an order ...
jng
2z             dismiss[ingf the action... [or] may make such order as appears just."
;B
tro
oi                               Accordingly, it is herebY,
HF
ffs
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                      ORDERED that the petition is denied and the proceeding is dismissecj, without prejudice,
UJF            pursuant to 22 NYCRR 202.27, and it is further
ttr.
>o
Jl.l.
J1                               ORDERED that the Clerk shallenter judgment accordingly.
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uJl                             This constitutes the Decision and Order of the court.
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               Dated: October 3,2017                                                                              JSC
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EI
               1. Check one
               2. Check as appropriate: PETITION lS                GRANTEO       t    DENIED    GRANTED IN PART          OTHER
           Case 1:18-cv-04293-MKV-OTW Document 1-4 Filed 05/14/18 Page 20 of 36




                                     EXHIBIT C




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          Case 1:18-cv-04293-MKV-OTW Document 1-4 Filed 05/14/18 Page 21 of 36

                                                                                         CASITEF,ECF,PRO-SE

                                   U.S. District Court
                       Southern District of New Yorl< (Foley Square)
                   CIVL DOCKET FOR CASE #: l;17-cv-03014-VEC-OTW

  Lopezv. New York City Dept. Homeless Services et al                  Date Filed:04125/2017
  Assigned to: Judge Valerie E. Caproni                                Jury Demand: Plaintiff
  Referred to: Magistrate Judge Ona T. Wang                            Narure of Suit: 440 Civil Rights: Other
  Cause: 28: l33l Fed. Qr-restion                                      Jurisdiction: Federal Question

  Pl,rint!ff   '

  Mariah Lopez                                     represented   by Mariah Lopez
                                                                       Homeless - No Mailing Address
                                                                       (2t2)   470-9681          ,;   .

                                                                       Email : mari ah4ch angd@gmail. com
                                                                       PRO SE


 V.
 Defendant                    r,.,..
 New Yorh Cify Dept. lilomblosS                   represented    by Thomas B. Roberts
 Services                             l                                 The CIty of New York T,aw Department
 TERMINATED :       0'4/2 6/2 0   I       7                             100 Church Street
                          .   '1,i,       .                             New York, NY 10007
                                                                        2t2-356-1000
                                                                        Fax: 212-7 88-8877
                                                                      - Email : throberl@law.nyc. gov
                                                                       LEAD ATTORNEY
                                                                       ATTORNEY TO BE NOTICED

 Def,endaJrl
 Prbject Renewal                                  represented    by Richard Ian Greenberg
                                                                      Jackson Lewis P.C. [NY)
                                                                      666 Thiid Avenue '     .



                                                                      29th Floor         .;

                                                                      New York, NY 10017
                                                                  i   Qt2) 545 4080
                                                                      Fax: (2i2)-912-3213
                                                                      Email.: greenber@j acksonlewis.com
                                                            .         LEADATTORNEY
                                                                      A,ITORNEY TO BE NOTICED

                                                                      I(evin Patrick Connolly , Jr.
                                                                      New York City Law Department
                                                                      100 Church Street




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        Case 1:18-cv-04293-MKV-OTW Document 1-4 Filed 05/14/18 Page 22 of 36

                                                                                     New York, NY 10007
                                                                                     (et4)-469-8890
                                                                                     Email:
                                                                                     kevi   n.   conno I ly @j ackso nlewi   s.   co   m
                                                                                     ATTORNEY rO qE,NOTTCED

                                                                                     Nidhi Srivastava
                                                                                     Jackson Lewis P.C.
                                                                                     665 3rd Avenue
                                                                                     New York, NY 10174
                                                                                     (212)-s4s-4048
                                                                                     Email:
                                                                                     nidhi. srivastava@ acksonlewis, com
                                                                                     ATTORNEY TO BE NOTICED

   Defendant
  .!-

  The Cify of New York                                              represented   by Evan Robert Schnittman
                                                                                     New York City Law Depafiment
                                                                                    100 Church Street
                                                                                    New York, NY 10007
                                                                                    (212)-3s6-26t3
                                                                                    Fax: (212)-788-8812
                                                                                    Email: eschnitt@law.nyc.gov ' '
                                                                                    LEAD AT:|ARNE,Y .       . t: ,i ,,
                                                                                    ATTORNEY TO BE NOTiCED                                 :tl
                                     ,' ll:                                                                                            ,   r1 -

                                                                                    'l'honras B. lloberts
                                                                                    (Sei above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED


  Date Filed      #        Docket Text
  a4/25t2017       1       REQUEST To PROCEED iN FORMA PAUPEzuS. Document filed bv Maiiali
                           Loiiez.(sac) (Enlered : 04 125 /20'1' 7)        '.-:,).
  04/25/20t7       2       C.Ol\4PLAJ,Nil-tagainst New York City Dept. Homeless Services, Project
                           Renewal. Dopume4t filed by Mariah Lopez.(sac) (Entered: 0412512011)
 04/25;/2017      1        u{st'ci\rEb' onoEn TO SHOW CAUSE filed by Mariah                                 Lopez. (sac)
                       .   (Iirrrerecl-'   0-4/ 2   5/   20 I 7 )

 04/25/20t7,               Case Designated ECF. (sac) (Entered:                   04/25/2An)
 04/26/2A17       4        o RDER             G IFP APPLI CA TI ON Leav e to proceed ln rhi S Court
                           without prepayment of fees is authorized.2S U.S.C. $ 1915. (Signed by Judge
                           Colleen \4cMahop on 4/26/2017) (sac) (Entered: 04/26/2017)
 04/26/2017




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           Case 1:18-cv-04293-MKV-OTW Document 1-4 Filed 05/14/18 Page 23 of 36

                           Transmission to Docket Assistant Clerk. Transmitted re: 4 Order Granting IFP
                           Application, to the Docket Assistant Clerk for case processing. (sac) (Entered:
                           04/26/2017)
   04/26120t7              NOTICE OF CASE REASSIGNMENT to Judge Valerie E. Caproni. Judge
                           Qnassigned is no longer assigned to the case. (wb) (Entered: 04/26/20,17)
   04/2612017              Magistrate Judge Saralr Netburn is so designated. (wb) (Entered:0412612011)

   a4/2612017              Mailed a copy of 4 Order Granting IFP Application to Mariah LopezHomeless
                          'shelter of Record, 480 East l85th Street, Bronx, NY 10450. (rro) (Entered:
                            412612017)

   04126120t7         6    ORDER: IT IS HEREBY ORDERED that P laintiff and representatives of
                           defendant Project Renewal and the Office of the Corporation Counsel ofNew
                           York City are dircctcd to appear before the Court in Courtroom 443 of the
                          Thurgood Marshall Courthouse, 40 Foley Square, New York, New York 10007
                          at 1 :00 p.m. on April 27,2017 in order to show cause why Plaintiff s application
                          for temporary injunctive relief should not be granted; IT IS HEREBY
                          FURTHER ORDERED tliat Plaintiff is directed to immediately notify the
                          Defendants of this autiort artd lter request for provisional telief. IT IS HEREBY       i




                          FURTHER ORDERED that Plaintiff is directed to immediately deliver to.the
                          Defendants copies of her complaint, supporting *ut::i{_:, order to show cause,
                          and this,Onler at the biloryine addiesses he,[pln. IT XS IffiREtsV'{U,ItTHER
                          Ottb$rng,i) that iheelerk of"&e Couit is rei$pectfully riireeted tci,r,nail:a,copy of
                          this order to Deferidants at the above-refergnced addiesses and note service on
                          the docket. Show Cause Hearing s"t for 4/2712017 at 01:00 PM in Courtroom
                          443,4A Centre Street, New York, NY 1.0007 belbre Judge Valerie E. Caproni;
                          (Signed,by Judgc Valerie E. Caproni on 4/2612017) (kgo) (Entered: 04D612017)

  04/26/20t7              Transmission to Docket Assisiant Clerk. Transmitted re:5 Order to Show
                          Cause,,,,, to the Docket Assistant Clerk for case processing. (kgo) (Entered
                          04/26/2017)
  04/26/20t7"         7   ORDER OF SERVICE: The Court dismisses Plaintiffs claims against the New
                          York City Department of Flomeless Services. The Courf directs the Clerk of
                          Court to add the City of New York as a defendant in lhis action. Fed. R..Civ. P.
                          21 . The Clerk of Court is further instructed to complete the USM-285 fomrs
                          with the addresses for the City of New York and Project Renewal, Inc., and
                          deliver all documents necessary to effect service to the U.S. Marshals Service.
                          The Court certifies under 28 U.S.C. $ 191 5(a)(3) that any appeal from this order
                          would not be taken in good faith, and'therefore in forma pauperis status is
                          denied for {he purpose of an appeal. Cf. Coppedge v. United States, 369 U.S.
                          438, 444-45 (1962) (holding that an appellant. demonstrates good faith when he
                          seeks review of.a nonfrivolous issue). ( USM-285 Form dqe Qy 5/26/2017.,
                          Request for Issuancq of Summons due by 5/26/2A17.), The City of New York
                          added. New York City Dept. Ilomeless Services terminated. (Signed by Judge
                          Valerie E. Caprorii on4/2612017) (kgo) (Errtered: 04/26/2017)
 04/26/2017               Mailed a copy of 6 Order to Show Cause to Mariah Lopez Homeless Shelter of
                          Record, 480 East I 85th Street, Bronx, NY 10450. (no) (Entered: 04/2612017)




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                                 Document 1-4 Filed 05/14/18 Page 24 of 36


  04/2712011                          Minute Entry for proceedings held before Judge Valerie E. Caproni: Show
                                      Cause Hearing held on 412712017. Order to follow. (Court Reporter Eve
                                      Giniger)  rantley, Michael) (Entered: 04/27 /2017)

                                      TEMPORARY RESTRAINING ORDER: On April 25,2017 Plaintifl
                                      pioceedilg pro se, filed a complaint for prelirninary and permanent injunctive
                                      relief alleging that Defendants have refustid to permit her service animal access
                                      to a public accommodation in violation of Title III of the Arnericans with
                                      ,Disabilities Act (the "ADA"),42 U.S.C. $ 12182(a). Plaintiff concurrently
                                      moved for a temporary restraining order ("TRO") pursuant to Rule 65 of the
                                      Federal Rules of Civil Procedure. On April 27 ,2011 the Court held a conference
                                      in respect of Ms. Lopez's application for a temporaV tggJlaining order; as
                                      further set forth herein. Accordingly, IT IS HEREBY ORDERED that the
                                      Defendants are provisionally directed to accommodate Plaintiff and her service
                                      animal at the'"Marsha's House" homeless shelter until 3:00 p.m. on May 1,
                                      2017, unless this Court orders otherwise. T$s.Order is without prejudice to the
                                      Defendants' and Marsh a's House's right,to reqiiire Plaintiff to comply with all
                                      applicable shelter rules and City'and State iegulations. Plaintiffs failure to
                                      comply with shelter rulgs or Ciry and Staie regrrlations is grounds to dissolve
                                      this !RO'. iT IS HEREBY FURTHER ORDERED that the parties are directed
                                      to appe.ar at 3:00 p.1n.on May 1,2017. in Courtroom 443 of'the Thurgood
                                                            e,
                                                     wiil   ho



 '04/27nvt7     '                                                         set,for 5/1/2017 at 03':00 PM in
                                    li Set/ReSet F.Iearings:"Status Conference
                        'i'-,         Courtroom 443,4}:Centre Street, New York,:NY 10007 belbre Judge Valelie E.
                                      Caoro nr.    (Entered:0412 D0r7)
                                       'l'

 a4/2712011                     9    STA'NDALONE SI-'tsMISSION tsY PLhNTIFF IN SUPPORT OF }IER
                                     APPLICATION FOR A TEMPORARY RESTRAINING ORDER AND
                                     PRELIMINARY INJUNCTION' Documdnt filed by Mariah lopez, (kgo)
                                     (E4tered    0l 7)

 04/2812'017'


 04/2812017         .
                                     F RCP 4 S e rV ce Package H and D eli vered to U S .M. Package hand deli vered to
                                     U.S.M. o17,412812017 per the instructions of Judge Valerie E. Caproni. See 7
                                     Or.der of,Service, Add and Ternrin4t-e,!4rties; (sbr) (Entered:0412812017)
                                     'FRCP 4 (lnformation Package Mailed) to plaihiiff at the address noted on the
 04/2812017
                                      conrplairit/iourt'.s docket on 4'/2812A17 via l\egul6i Mail. The inforrnation
                                      paciiageinclirrlecl: a copy of tlrc Order bf Seivic-e, Juclge's lndividuai rules,
                                      instructions for Litigants Who Do Noi Havd Attorneys, Notice Regarding
                                      Privaci, and Public Access to Electronic Case files, A MotiOns Guide, A Notice
                                      that the Pro Se'Manual has been discontinued, a Notice of Change of Address to
                                      uSe if your contact information changes, a consent to proceed before a
                                      Magistlate Judge, and cousetrt to electronic service forms. (sbr) (Entered:
                                     04/28/2017)




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  04/28/2017              ORDER: WHEREAS on April 27 ,2017 the Court entered a temporary
                          restraining order (the "TRO") in the above-captioned case and directed the
                          parties to appear for a hearing in respect of Plaintiffs application fora
                          preliminary injunction at 3:00 p.m. on May 1, 2017; IT IS I{EREBY
                          bnpBn-ep that, due to a conflict on the Coult's calendar, the May 1,2017
                          hearing is adjourned to 3:00 p.m. on May 3,2017. IT IS HEREBY FURTHER
                          ORDERED that the TRO shall remain in effect during the period from May l,
                          2017 to 3:00 p.m. on MaY 3,20 17. For the avoidance of doubt, the Court finds
                          that the factors supporling entry of a TRO through May 1, 201 7 also support
                         ,maintaining the TRO until MaY 3,2017. ( Status Conference set for 51312017 at
                         ,03:00 PM before Judge Valerie E. Caproni.) (Signed by Judge Valerie E.
                          Caproni on 412812017) (mro) (Entered: 0s10U2017)
                                                                    tha t P lainti ff ls d rec ted o show call S e by
 0s/0t/2a"t7       u     o RD ER. IT I S HER E B Y o RD E RED
                            00 p .m on M      2 20 1 why the Couit should no dis SO ve the TRO n Iieht
                                                                                                                       of
                                           ^y                                                 o o
                         th e City's agree ment to acco mmodate P lai ntiff s animal        S     RD ERED     ( Show
                         Cause Heanng set for 5 /2 120 7 a t 0 5 00 P M be fore J,udge V alerie E. Caproni)
                         (s igned by J udg     alerie E. C apr on o n 5l I l2 0 7 ) 0i m ) (Entere d 0 sl0 I l2 0 1 7 )

 as/0U20r7         p     NOTICE OF LIMITED APPEARANCtr OF PRO BONO COUNSEL for
                            ah i I op ez, (F reem &[t M les ) (En tered 0 s/0 DA 7)

 0s/0t/2017        13
                  i:l-
                         NOTICE OF APPEARANCE by Thornas B. Roberts on behalf of The City of
                         New York. (Roberts, Thomas) (Entered: 0510112017)
                  ;r:;
 as/01/2017              iRESPONSE TO ORDER TO SFIOW CAUSE re: I l. Order to Show Cause;.
                           ocument filed by Mari ah Lopez.. (Freeman, Miles ) (Entered: 05/0 I 120 7)

 05/02/2017        15            O ENDORSpptnNf on re: 14 RESPONSE TO ORDER TO S HOW
                         ,cAusE (D.I. 11) re: i I Order to Show Cause. Docurr'tent filed by Mariah
                         Lopez.                          The Court finds that, in light of the City's agreement
                         to house Plaintiff and her animal, and Plaintiffs submission in response to the
                         Court's order to sho w cause, the Coutl's temporary restraining order is no longer
                         nece S sary to av ol d an rrep arab e harm The TR o IS here by disso VC d and the
                         pafti ES Ma v ) 20 7 c on ference S adjourned slne die. So ordered. The fol lowing
                         hear lng c ) wa term IN ate d S tatus Conference (s igned by Jud ge V alerie E.
                         c apronl on 5 l2/20 7 ) ( U m ) (En tere d 0 s/02/2 0 1 7 )
 0s/0212017        l6 NOTICE,     OF iNITIAL PRETITIAL CONFERENCE: INitiAI CONfCTCNCC SCt fOT
                         6/912017 at 10:00 AM in Courtroom 443,40 Centre Street, New York, NY
                         10007 before Judge Valerie E. Caproni, and as further set fo.rth in this order'
                         (Signed by Judge V alerie E. Caproni on 512'12017) (ap) (Entered: 05/0212017)

 05/22/20t7        l7 LETTER MOTION to Adjourn           Conference currently scheduledfor June 9,
                         2017 addressecl to Judge Valerie E. Caproni from Tho mas B. Roberts dated MaY
                         22,2017. Document filed by The city of New York.(Roberts, Thomas)
                         (Entered: 05/22/2017)

 05/22/2017        i8-   MOTION for Miies D. Freemarr to Withdraw as Attorney . Document filed by
                         Mariah Lopez.(Freeman, Miles) (Entered: 05/2212017)
 0s/23/2017        r9    MEMO ENDORSEMENT granting 18 MOTION TO WITHDRAW
                         APPE/\RANCE OF LiMITED PRO BONO COLINSEL MILES D. FREEMAN'


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                       ENDORSEMENT: Application GRANTED. The Court thanks the Quinn
                       Emrnanuel firm and Mr. Freeman for their pro bono contributions to this case
                       and their willingness to represent Ms. Lopez on short notice. SO ORDERED.
                       (Signed by Judge Valerie E. Capro ni on 5/23/2017) (anc) (Entered:05123/2017)

  0s/2312017          ORDER REFERRING CASE TO MAGISTRATE JUDGE. Order that case be
                      referred to the Clerk of Court for assignment to a Magistrate Judge for General
                      Pretrial (includes scheduling; discovery, non-dispositive pretrial motions, and
                      settlement) and Dispositive Motion (i.e., motion requiring a Report and
                      Recommenclation) All such motions. Referred to Magistrate Judge Sarah
                      Netburn. In light of the Court's reference to Magistrate Judge Netburn, the initial
                      pre-trial conference currently scheduled for June 2,2017 is adjourned sine die.
                      (Signed by Judge Valerie E. Caproni on 5 /23 12017) (anc) (Entered: 05 123 /24 17)

  0s/24120t7           ORD ER: grantrng t7 Letter Moti on to Adj ourn Conference IT IS HEREB Y
                       o RD ERED that the referral to Magi strate J udge N et burn IS canceled The initial
           t,!        ,pre-,(ial conference.pr:eviously scheduled,for-June 2,20n is rescheduled for '
                       10:00 a.m. on June 30, 2011 . The parties' joint pre-conference letter is due by
                      June 23. 2017. The parties are directed to consult the l-Indersigned'.s Individual
                      Practiied in Civil Cases, which'are available online, for further information
                      relevant to the initial pre-trial conference. SO ORDERED. Initial Conference set
                       fsr 6130/2017 at 10:00 AM before Judge Valerie E. Caproni. (Signed by Judge
                      Valerie E. Caproni on 5/24/2Q1.7) (ama) (Entered: 05/2412017)

 asBo/2017            Magistrale Judge Andrew J. Peck is,so redesignated. (wb) (Entered:05138DA17)
                      LET,TER from Mariah'Lbpez dated 5/30/2An rei: Einergency. Document filed
                        Mari ah Lo p9z" (mun ) (En tered: a5B0lza.l 7)
                      NOTICE OF M OTION for Emergency Relief (tr:.get back in Shelter)
                      Requested. Doc umenlfileil by Mariah Lopez.(inan) (Entered: 0513012017)

 05130/2017      24   O1IER: ITJS HEREBY ORDERED that the parties            must appear for a hearing
                      on May 31,20'77, at 12:00 p.m., in Courtroom 444 of the Thurgood Marshall
                      Courthouse, 40 Foley Square, New York, NY 10007. If that time conflicts with
                      Ms. Lopez,s appearance in New York Supreme Court lDkl.22 at 3], then the
                      Cify must provide the Cou.rt with an alternative available time for the hearing.
                      (Status Conference set for 5/31/2017 al12:00 PM in Courtroom 444,40 Centre
                      Street, New'York, NY 10007 before Judge Valerie E. Caproni') (Signed by
                      Judge Valerie E. Caproni on 5130/2017) (cf) (Entcrcd: 05l30l2An)

 0s130/2017      25   NOTICE, OF APPEARANCE by Kevin Patriok Connolly, Jr on behalf of Project
                      Renewal. (Comol1y, Kevin) (Entered: 05/30/2017)

 05131.17017     26   NOTICE OF APPEARANCE by Richard Ian Greenberg on behalf of Project
                      Renewal. (Greenberg, Richard) (Entered: 05/31 /2017)
 05/31/2017           Minute Entry for proceedings held before Judge Valerie E. Caproni: Motion
                      ,Hearing held on 5/31/2011 re:23 MOTION Emergency'Itelief (to get back in
                      Slrelter) Requested. filed by Mariah Lopez. Ms. Lopez's application was denied
                      by the Court. (Court Reporter Rebecca Foreman) (Brantley, Michael) (Entered:
                      06102/20t7)




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      Case 1:18-cv-04293-MKV-OTW Document 1-4 Filed 05/14/18 Page 27 of 36

 06/otl20r7       11  REDACTI ON Documents submitted in Court May 3l , 2017 pursuant to Court
                      Order by The City of New York (Attachments: # I Exhibit Lopez Shelter
                      History, # 2 Exhibit Rules and agreements concerning Marsha's House, # 3
                      Exhibit Incident report 4/2lll7 2l:40 arn, # 4 Exhibit Incident repoft 4l21ll7
                       I l:51 AM, * 5 extriUir DHS Commitment Contract, # 6 Exhibit Incident
                                                                                                 Report
                      4/27/t7 l: l0 AM, # Z Exhibit Incident Report 4/24/17 2:00 AM, # I Exhibit
                      Federal cornplainr, * 9 e*niuit Federal TRo of 4/2I l17 , # l0 Exhibit Incident
                      Report 5/2/li 8:13 AM, # 11 Exhibit Incident Report 5l4lll5:00 PM, # 12
                      gxiriUit Notes History 5lg/t7 1:14 PM, # l3 Exhibit Incident Report 5l1ll7
                       11:25 PM, # 14 Exhibit Notes History 5/10/17 6:09 PM, # l5 Exhibit
                                                                                              Notes
                      History slrctn 6:08 PM, # 16 Exhibit suspension Request Form 5l9ll1,# 17-
                      Exhibit Cliept Notification of Transfer, # l! Exhibit Shelter Client Transfer
                      Referral, # l9 ExhibiL 94 ADM-20 , # 20 Affidavit of Dean Uetake, # 2 I
                     !Affidavit of Paul Hargrow, It22 Affidavit of Kaedon Grinnell,#23 Affida vit of
                      Tonya Fowler, # 24 Affidavit of Trevor Olliviene , #'25 Affidavit of Srevice
                                                                                                     by
                      Thomas B. Roberts)(Robens, Tlromas) (Entered: 06101 12011)
                      REDACTI ON Additional documents submitted in court May 31, 2017 pursuant
                      to Court Order by The City of New York(Roberts; Thomas) (Entered
                      o6l0t/2017)
                                                                                  o n behalf of The City
                  29 NOTICE OF APPEARANCE by Evan Robert Schnittman
                      of New York. (Schnittman, Evan) (Entered: 0610812017)
                       P RO SE GO N S ENT TO RE CETVE        ELECTR ONI C SERVI CE. The fo llowing
                       parfy Maridh L opez co nsents to recel ye electronic servrce vla the ECF sy stem
                                 filed by Maria h ,o pez. ( sac ) (Entered: 051 I 5l2A I 7)
                                                                                             (sac)
 06/tsl20t7       31   UNSIGNED ORDEtt TO SHOW CAUSE filed by,Mariah Lopez.
                       (Enterrd: 06/16/2017)

 06/rs/2017       az oRDER: Plaintiff filed this plo     se action on   April 25,2A17. On June 15,20.11,
                       Plaintiff filed a Motion seeking a Temporary Restraining Order. In essence,
                       Plaintiff seeks to have the Court order Defendants to tmnsfer her back to
                       Marsha's I{ouse, an LGBTQ-focused horneless facility in which she was
                       previously sheltered, from WIN West, a shelter that Plaintiff claims cannot
                       provide hlr witti reasonable accommodations. Plaintiff has retroved herself
                       from WIN West and is currently homeless; as further spt forth herein. Plaintiff
                                                                                                   and not
                       seeks reinstatement to her former shelter, and thus requests affirmative,
                       prohibitory, relief. Flowever, she has left the custody of the Department of
                       i-Iomel"ss Services since the date of her tiansfer, and it is unclear what
                       irreparable harm the current Motion seeks to avoid. In light of the heightened
                       standard governing requests for affirmative emergency relief, the court is
                                                                                                      not
                       able to grant a temporary restraining order. However, the Court interprets
                       ptulntifFs request for a tetnporary restraining-order as incorporating a request for
                       a preliminary injunction. At the Parties'previously scheduled initial
                                                                                               pre-trial
                       conference on June 30,2017, Judge Caproni will set a schedule for a      .




                       preliminary injun ction heaiing. Plaintiff is instructed to serve the moving papers
                       on Defendants bY June 23,2011 . (Signed by Judge Deborah A. Batts on
                       6/15/2017) (mro) Modified on 6/16/2017 (mro). (Entered: 06/1612011)

 06t16/2017       33


                                                                                                     s/10/2018
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      Case 1:18-cv-04293-MKV-OTW
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                                 Document 1-4 Filed 05/14/18 Page 28 of 36


                         ORDER: In an Order dated June 15, 2017, this Court, sitting in Part l, among
                         other tlrings, ordered Plaintiff to serve her papers on Defendants by June23,
                         2017 . Pursuant to Local Rule 5.2, Electronic Service and Filing of Documents,
                         there is no need for Plaintiff to serve Defendants personally. Therefore, that paft
                         of the Order of June 15,201 7 is vacated. (Signed by Judge Deborah A. Batts on
                         6/16/201 7) (kgo) (Entered: 06/1612017)

  06/20120t7       35     MARSHAL'S PROCESS RECEIPT AND RETURN OF SERVICE
                          EXECUTED Summons and Complaint served. The Ciry of New York served on
                         '61212017,
                                    answer due 8lll20l7. Service was made by Mail. Document filed by
                          Mariah Lopez. (go) (Entered: 0612812017)
  a6naDuT         l0     MARSHAL'S PROCESS RECEIPT AND RETURN OF SERVICE
                         EXECUTED Summons and Complaint served. Project Rencwal sctvcd on
                         6/512017, answer due 8/412017. Service was made by Mail. Document filed by
                         Marialr Lopez. $go) (Entered: 06/28/2017)
  06/23/20t7      34    LETTER addressed to Judge Valerie E. Caproni from Thomas B. Roberts &
                        Kevin P. Connolly dated June 23,2017 re: Defendants' joint letter in
                        anticipation.of the initial pre-trial conference arid Pioposed Case Management
                        Plan. Documont filcd by Projcct Renewal, The City of New Yolk.(Robr:rl.s,
                        Thomas) (Entered: 06/2312017)
  06130/2017            Minute Entry for proceedings held before Judge Valerie E. Caproni: Initial
                        Pretrial Conference held on 6/30/2A17. Orcier to follow. (Court Reporter Steven
                        Greenbaum) (Brantley, Michael) (Entered : 061 30 /2017)
                 .^-
  06130/2017     ,37    STATE COURT RECORDS AND PROCEEDINGS PURSUANT TO LOCAL
                        RULE 81. Documcnt filcd by.The City of New York.(Roberts, Thomas)
                        (Entered: 06/30/2017)
 ,06/30/2017      38    STATE COURT RECO,RDS AND PROCEEDINGS PURSUANT TO LOCAL
                 :ry
                        ,RUtf  81. Document filed by The City of New York.(Roberts, Thomas)
                        (Entered: 06130/2017)

 07/0512017      39      ORDER: IT IS HEREBY ORDERED that the Court shall construe Ms. Lopez's
                        June 15;2017 application for a temporary restraining order, Dkt.31, as ah
                        amertded complaint. In the event defendant Project Renewal, Inc. objects to
                        treating the June I5,201 7 application as an amended complaint, it must inform
                        the Court by July 7,2017. IT IS HEREBY FURTHER ORDERED that
                        Defendants'Rule l2 motions shall be due by August 4,2017. Plaintiffs response
                        is due by September 8, 2017 . Defendants' replies are due by Septemb er 22,
                        2017.1T IS HEREBY FURTI'IER ORDERED that the City is directed to inform
                        the Court pron-rptly of any materiai developments in the pardllel state court
                        Article 78 proceedings. IT IS HEREBY FURTI{ER ORDERED that briefing on
                        Plaintiffs motion for a preliminary injunction is adjourned sine die . (Motions.
                        due by 8/4/2017. Responses due by 9/8/20,17. Replies due by 9/2212017 .)
                        (Signed by Judge Valerie E. Caproni on7/512017) (mml) (Entered: 071A5/2017)

 07/21/2017      40     TRANSCRIPT of Proceedings re: HEARING held on 5/31/2011 before Judge
                        Valerie E. Caproni. Court Reporler/Transcriber: Rose Prater, (212) 80-5-0300.
                        Transcript may be viewed at the court public terminal or purchascd through the



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                             Court I{eporter/Transcriber before the deadline for Release of Transcript
                             Restriction. After that date it may be obtained tluough PACER' Redaction
                             Requesr due 8/l l/2017. Redacted Transcript Deadline set for 8/21/2017. Release
                             of Transclipt Restriction set for' l0/l 9/2011 .(McGuirk, Kelly) (Entered:
                             0712U2011)

  07/2v2017            il,   NOT'ICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that
                             an official transcript of a FIEARING proceeding held on 5/31/17 has been filed
                             by the court reporter/transcriber in the above-captioned matter. The parties have
                             seven (7) calendar days to file witli the court a Notice of Intent to Request
                             Redaction of this transcript. If no such Notice is filed, the trauscript may be
                             made remotely electronically available to the public without redaction after 90
                             calendar days...(McGuirk, Kelly) (Entered: 07 /2112017)

                   -,42      TRANSCzuPT of Proceedings re: CONFERENCE held on 6/3012017 before
                    '-.-
                             Judge Valerie E. Caproni. Court Reporter/Transcriber: Steven Greenblum, (212)
                             805:0300. Transcript rnay be viewed at the court public terminal or purchased
                             through the Court Reporter./Transcriber before the deadline for Release of
                             Transiript Restriction. After that date it may be obtained through PACER.
                             Redaction Request due 8l17/2017. Redactcd Trartscript Deadline set for
                             8/Z8lZ01'7. Release of Transcript Restriction sei for fi/25/2017.(McGuirk,
                             Kelly) (Entered: 07 /27 /2017)
                                         OpFILING OF OFFICIAL TRANSCRIPt'Notice is 6'ereby given that
                             arr off.rcial'transcript of a CONFERENCE proceeding he.ld on 6130ll7 has been
                             filed by the court reporter/transcriber ln the a bove- captione d matter The parties


                                   rer,iisig-ly
                             calendar

 0712812017        :'4'4' M OTION to DJ SITIIS S A mended Complaint. Documen t                                  fi led   Tlie City of New
                   :::::: "
                            York    nses due .by 9/8/2017(Roberts, Thomas)                                               07l2Bl2or7)
                   ::
  07128/2017           45          ORANDUM OF LAW in Supporl re:44 MOTION tci Dismiss Amended
                             Complaint.. Docurnent filed by The City of New York. (Roberts, Thomas)
                             (Entertld:'07 /28/2017)

 07/28/2017            L6    DECLARA TION of Thomas B. Robgrts in Suppofi re 44 MOTION to Dismrss
                             Amended. Compl aint..Document filed by The City of New York. (Attachments:
                             #,1 E4hibilEx.l, May 12,2017 Petition and supporting papers in Article 78
                             proce,eding-' 10063 2 120 | 7, # .2 Exhrbit Ex. 2, Transcript of May 12, 2011
                             pprcee{ipg in 100 63212017 , # 3,Exhibit Ex. 3,,Trenspript.o f May 15,201'/
                             proc eedings iri 100 63212017, # 4 Exhibit Ex. 4,lncident reports concerning
                             Plain tiffs aciions onjMay 2'4,207'7, # 5'Ex-hibit'Ex.5i N.Y. Unified Court
                             Sy..qtenr, Case l)etails Strrnmary collcqtning Plaintiff dated May 25,2011'# 6
                             fxiriftit'p*.'6, DI'{S Suspcnsion ll,equest dated May     24,2017 , # Z Exhibit Ex. .7 ,
                                                                                    'affidavits
                             part 1, DHS' Answer and supporting exhibits and                    in fi063212017 ; # g
                             bxhibit Ex.7 , parI2, DHS' Answer and Supporting exhibits aird affidavits in
                              100632/2An , # g Exhibit Ex. 7 , Part 3, DHS' Answer and supporting exhibits
                             and afficlavits in 100632/2011,# 10 Exhibit Ex.7,patl4', DHS'Answeranrl
                             strpporting exhibits and affidavits in I 00632/2017, # 11 Exhibit Ex. 8, Incident


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                                  reports cncerning Plaintiff s actions on May 26,2017 , H 12 Exhibit Ex. 9,
                                  Trarrscript of May 3l ,2017 proceedingb in 100632/2011 , # 13 Exhibit Ex. 10,
                                 :June 1 4, 2,017 deciston and judgment in 100632/2017 , # l4 Exhibit Ex. 1 l, June
                                    email chain'between Plainfiff aird A CC,Sctinittman,# l5 Exhibit Ex. 12, June
                                  7,2017 letter of Dr. Harold Reed, # 16 Exhibit Ex. 13, June ),,0,20l7letter of
                                 Dr. Pierre Arty, # l7 Exhibit Ex..l4, June 26, 2017 Reasonable Accommodation
                                 Request Determination, #,18 Exhibit Ex. 15, Amender OTSC, RJI and Verified
                                 Petition in 100871/2017,-lt l9 Exhibit Ex. 16, July 20, 2017 Answer of DHS in
                                  IIA,U I120.17 , # 20 Exhibit Ex. I 7, July 20 Affidavit of Dr. Laraque)(Roberts,
                                      mas) (Entered: 07 128/2017)

                                 ORDER REFERRING CASE TO'MAGISTRATE JUDGE, Order that case                                be
                                 referred to the Clerk of Court for'assignment to a Magistrate Judge lbr
                                   rsB osl tl VC Motipn (i.e., rtroti on req ul{tqg a Report and Re comrnendation).
                                                                                  I


                                              to Mpgistrate Judge An dre'ry Peck. ( S igned by J udge V alerie E
                                             en 8/ Il20 7 ) (kg o ) (Entered            I 7)
               0I7               RTJLE 7    co RPORA TE DI SCL OS URE STATEMENT N o Corpor aIe P arent
                                    ctrnent nl ed by Proj e it Refiewal ( Gieenb etg, Rich ard) (Entered: 0 8i03 l2 0 7)
                          p'l    MOTI ON to Distni"- s. D 00ulnQnt ti cd by Proj eet R enerval (G reenberg, Ri chard
                                 (Entered: 08/0312017)

  0g/a3QQ 7                                   DIJM OF L,A'W in $upport ,re: .49 MQTION,to.Dismiss,                   ,
               .,l.J l                      fi.led by ff roj eo t ;Reltewal. (Greerrberg,, fu qhaqd). (Entered   :

                                 q.8/iqa/2gu)    ,




  08/03                                                           tr'.'                       ie:49 MOTION           to
                                                                                                         Jf
                                           Doc.unrredt                                              ts   t+   Exhibit A H,
      :i?P:,


                                                                                                 ib,to

                                                                                                      ,Andrew J,
                                PEgk,'i a copy of whioh,is.an lhe S.D.N,Y..website and'also is attached. The
                                        ,are to'consider whBther they wa4t,glq.to.deoids- ttae.motions on a
                                dispositive basis, pursuant to 28 U.S.C,$ 636(e).      A   eBpy pf the lirnitedg 636(c)




 08t04/20til,
 08/16/2017'

                         j-,
 08/'21/20t7,            54     LETTER MOTION for Extension of Time ro'Submit Reply Document,r
                                addressed to Magistrate Judge Andrew J. PecT< from Kevin P. Comolly dated



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                         August 21,2017. Document filed by Project Renewal.(Conlolly, Kevin)
                         (Entered: 08/21/2017)

  08,21t2017       55     RD E R gra n ting 54 Letter M otr on for Exte nsro n o f T me. Rel u ctantl v
                          pprove d N o further extensl ons SO o RD ERED ( S lg ned by Mag ls trate J udge
                                                                                                j
                         Andrew J P eck on 8/2 t2a 7) Copi CS E CF All P arti es/ C ounse l, udge
                         Caproni. (ama) (Entered: 08121 /2017)

  0812U2017              Set/Reset Deadl rnes Response S due by 918/2 0 7 Repl les due by 9122120 I 7
                         (ama) (Ent ered: 0 8/2 I /20 I 7)
                                                                         FOR
  09t08l2an        J6 LETTER from Mariah Lopez, dated 9/8/17 re: REQUEST
                      ADJOURNMENT DUE TO RELIGIOUS & MEDICAL NEEDS.                                       DOCUMENT

                      filed by Mariah Lopez.(sc) (Entered: 091 I l/2017)
  0911r/20t7       57.   MEM O ENt) o RS EMENT       n IC 56 Letter filed by Mariah L opez.
                         ENDORSEMENT Ext en S lon appro ved to Septem b er 22 20 I 7 Reply brie f due
                         September 29,2017. (Responses due by 9/22/201 7. Replies due by 912912017 ')
                         (Signed by Magistrate Judge Andrew J. Peck on 9/l l/2017) (ap) (Entered:
                         09/rtl20t7)
  0912912011       58     REPORT & RECOMMENDATION: TC: 44 MOTION tO DiSMTSS AMCNdCd                                           ,{
                          Complaint, filed by The City of New York,49 M o 1l ON to D lSml SS, fil ed by
                          Prqject Renewal, 2 Cttritrplaint filedlry Mariah Lop.ur..$,ox the 4e9$QSs set forlh
                         'abovp, the eourt shquki.,r'rrlb'tis, follo.rvi.:O) the Ci!f!g-.si111ion to $'sitriss (Dkt.
                          No. 44) should'be DENIED in its entirety; (2) P foJ.GRANTED ect R.enewal' S motion to
                          dismi SS (Dkt N o 4 9 ) shoul d be    DENIED       except                 as to Lopez' s
                          fail ure to accommodate claim and any clai rnS under Ti tl e II of the ADA and (3 )
                          Lopez shou d be granted leave to file a Second Amended Com pla I nt to name
                                ect Renewal AS a defendant and to add facts to supp ort her Title III fai I ure to
                               ommo date cl alm agarnst P IOJ ect Renewal and AS fui'ther set forth m this
                                                                       a      1
                               er o bj ecti ons to R&R due by I 0/ I J /20 1 (s igned by Mag istrate J ud ge
                          Andrew J. Pe ck o11 9 l2 8 t20 1 ) ( ap ) Mo dified on I 0l 1 7120 I 7 ( ap ). (Entered:
                         09129/2017)

  10/10/2017       5q     FIRST LETTER MOTION for Extension of Time to file written obiections to
                         ',Report and Recomntendation addressed to Judge Valerie E. Caproni from Kevin
                          Connolly dated October 10,2017. Document filed by Project Renewal.
                          (ponnolly, Kevin) (Entered: 1011012017)
  10111/2A17      60     ORDER granting 59 Letter Motion for Extension of Tiine. Applicatio
                         GRANTED. Objections to R&R clue by 10/2312017' (Signed by Judge Valerie
                         E. Caproni on l0/1 112017) (mro) (Entered: l0lll/2017)
 1A/23/2017       61     OBJECTION to 58 Report and Recommendations Document filed by Project
                         Renewal. (Greenberg, Richard) (Entered: 10/2312017)

 10/23/2017       62     DECLARATION of Richard I. Greenberg, Esq' in Support re: 61 Objection to
                         Report and Re corruren dat lo NS Do cumen t fi I ed by Proj e ct Renewal -u
                         ( A ttachments # I Exhi bi t A( 1 ) , # z Exhibi t A ( 2 ), # J Exhi b rt A(3 ) t't   4   Exhib t
                         A( 4 ) t+ 5 Exh ibi t A( 5 ) ) ( Green berg, Ri chard ) (Entered I 0/2 3 /20 I 7)
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                      OBJECTION to 58 Report and Recomrnendations Document filed by The City
                      of New York. (Roberts, Thomas) (Entered: l0/23/2017)
                      DECLARATION of Tonie Baezin Support re: 63 Objection to Report and
                      Recommendations. Document filed by The City of New York. (Roberts,
                      Thomas) (Entered: iOtZltzOtll

                     NOTICE of to Pro Se litigant who opposes a Rule l2 Motion supported by
                     matters outside the pleadings and copies of clecisions exculsively reported on
                     computerized databases re: 63 Objection to Report and Recommendations.
                     Document filed by The City of New York. (Attachments: # I Exhibit Ex.A;
                     Arnold v Beth Abraham Health Servs., # I Exhibit Ex. B; Leo v NYC Dep't of
                     Educ., # I Exhibit Ex. c; Loren v. NYC Dept of Educ:, # { Hxhibit Ex. D; Moran
                       NY Dep't of Health, # ! Exhibit Ex. E; Nash v. Bd. of educ. of NY, # 6
                        hibit Ex. F; Smith v. Cuomo, # f Exhibit Ex. G; Cordoba v. Beau Dietl, # 8
                     Exhibit Ex. H; Witchard v. Monefiore Med. Ctr.)(Roberts, Thomas) (Entered
                     r0/23/2017)
                     PRO SE MEMORANDUM dAtcd I/16117 rC: CHANGE OF ADDRESS fOr
                     Mariah Lopez. New Address: Homcless - No Mailing Addrcss, (sc) (Entcred:
                      1t/!6/20t7)
  03/05t2,0L8        NOTICE 9F REDESIGNA.TION TO ANOTHER MAGISTRATE JUDGE. ThE
                                                                                               T   wang.
                                                                                               (EnLered


                     NOTICE OF REASSIGNMENT'OF A REFERRAL TO ANOTHER
                     MAGISTRATE ruDGE. The referral in the above entitled action has been
                     reassigned to Magistrate Judge Ona T. Wang; for General Pretrial (includes
                     scheduling, discovery, non-dispositive pretrial motions, and settlement).
                     MagiStrate Judge Andrew J. Peck no longer refened to the case. (bcu) (Entered:
                     0310s/2018)

                      ORDSR l'or 44"'N4orion to Disniiss filed by,'llhe Cit1,'ofNew Yorl<, 4g lvlotion to
                     Djsiniss liler,l by Pr,oject llenerval, 58 Report and RosonFiendalions; 1'he re.1l.or1
                     is ADOPTED iN FULL. The City of New York's motion to clislniss is D,ENIED.
                     Project Renewal's motion to dismiss is DENIED, except as to Lopez's failure to
                     accommodate claim and any claims under Title II of the ADA. Pl'aintiff is
                     granted,leave to file a second amended complaint to ttattte Project Renewal as a
                     defendant and to add facts to support her Title III failure to accommodate claim
                     against Project,Renewal, if she so chooses.Aly such second amended complaint
                     must be filect by April 1 6,2018. The Clerk of the Court is respectfully directed
                     to close the open motions at docket entries 44 and 49, mail a copy of this order
                     to Plaintiff, and note rnailing on the docket. SO ORDEI{ED. (Amended
                     Pleadings due by 4/16/2A18.) (Siened by Judge Valerie E. Caproni on3/15/18)
                     (yv) (Entered: 03/1 6/2015)
 03/1st2018         Trapsmission to Docket Assistant Clerk. Transmitted re: 67 Order.Adopting
                    I{eporr aqd Recommendations, Set Deadlines, to the Docket Assistant Clerk for
                    dase pro"essing. (yv) (llntered: 03/I612018)




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   a3/21/2018       68     LETTER MOTION for Extension of Tirne to File Answer on behalf of all
                           defendants addressed to Judge Valerie E. Caproni from Thomas B. Roberts
                           dated March 21,2018. Docunrent filed by New York City Dept. Horneless
                           Services; The City ofNew York.(Roberts, Thomas)            03/2t120t8)

                    69    ORDER granting 68 Letter Motion for Extension of Time to Answer.
                          Application GRANTED. The Clerk of the Court is directed to mail a copy of
                          thiJ endolsement to Plaintiff and note mailing on the docket. Project Renewal
                          answer due 4/3012018; The City of New York answer due 4/30/2018. (Signed by
                          Judge Valerie E, Caproni on 3123/2018) (kgo) (Entered: 03/23/2018)

                          Transmission to Docket Assistant Clerk.'Transmitted re:59,Order on Motion for
                          Extension of Time to Answer,, to the Docket Assistant Clerk for case
                               s srng (lceo) (Entered: 0312.) /2 0 8)

   0312812018       70    AMENDED ORDER Rlrl"ERRiNG CASE'I'O,MAGIS'I'RATE JUDGE. Order
                          that case be referred to the Clerk of Court for assignment to a Magistrate Judge
                          for General Pretrial (includes scheduling, discovery, non-dispositive pretrial
                                   and settlement) and Dispositive Motion (i.e., motion requiring a Report
                          and Recommendation). Referred tb Magistrate Judge Ona T. Wang. (Signed by
                          Judge Valerie E. Caproni on 3128/2At 8) (rjrl) (EnLered 03l28l2tJI8 )

  a3/29/2018




                          Centre Street, New York, NY 10007 before Judge Valerie E. Caproni.),
                          ( Responses due by 3/3012018) (Signed by Judge Lorna G. Schofield on
                          3 129 /2018) (kgo) (Entered: 03 129 /201 8)


  03/30/20t8              Minute Entry for proceedings held on 3/3012018, before Judge Valerie E.
                          Caproni: Hearing held regarding Plaintiffs application for a temporary
                          restraining order. The Court Denied the motion for a temporary restraining order
                          because Plaintiff has failed to demonstrate she is at risk of an irreparable injury
                          unless the Court orders the Defendants to place Piaintiff in a private room or
                          single-occupancy hotel room. To the extent plaintiff has demonstrated she faces
                          an injury absent such relief, the Court concluded that risk is due to conduct
                          unrelated to the claims in this case. The Court ordered the record of this
                         'proceeding Sealed. Court Reporter Tom Murray present. (Brantley, Michael)
                          (Entered: 04/02/2018)
  04/27/2018       72    NOTICE OF APPEARANCE by Nidhi Srivastava on behalf of Project Renewal
                         (Srivastava, Nidhi) (Entered: 04127 /201 8)

 04/30/2018        IJ    ANSWER to 2 Compiaint. Document filed by The City of New York.
                         (Attachments: # I Exhibit numbered amended complaint)(Roberts, Thomas)
                         (Entered: 04/30/2018)




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  04/30/2018                                 ANSWER to 2 Complaint. Document filed by Project Renewal. (Attachments:                 #
                                             1.'Exhibit A)(Srivastava, Nidhi) (Entered: 04130/2018)
  0s/0 1/20 l8                  t) SCHEDULING ORDER: Plaintiff              and counsel for Defendants shall appear for a
                               :-:
                                         Stitus Conference  on  May  23,2018  at 3:00 p.m. at the Daniel Patiick Moynihan
                                         Courthouse, 500 Pearl Street, Courtroom 20D. (As further set forth in this
                                         Order.) The Clerk bf Court is respectfully directed to mail a copy of this
                                         Scheduling Order to Plaintiff and note mailing on the docket. Status Conference
                                         set for 5123/2018 at 03:00 PM in Courtroom 20D, 500 Pearl Street, New York,
                                         NY 10007 before Magistrate Judge Ona T. Wang. (Signed by Magistrate Judge
                                         Ona T. Wang on 51112018) (c0 (Entered: 0510112018)

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                                         the Docket Assistant Clerk for case processing. (cf) (Entered: 05/0ll20l9)

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      Case 1:18-cv-04293-MKV-OTW Document 1-4 Filed 05/14/18 Page 35 of 36

   04/30/2018                          74   ANSWER to 2 Complaint. Document flled by Project Renewal. (Attachments:       #
                                            1 Exlribit A)(Srivastava, Nidhi) (Entered: 04/30/2018)

  0sl0r/2018                           75   SCHEDULING ORDER: Plaintiff and counsel for Defendants shall appear for a
                                            Status Conference on May 23, 201 8 at 3:00 p.m. at the Daniel Patrick Moynihan
                                            Courthouse, 500 Pearl Street, Courtroom 20D. (As further set forth in this
                                            Order.) The Clerk bf Court is respectfully directed to mail a copy of this
                                            Scheduling Order to Plaintiff and note mailing on the docket. Status Conference
                                            set for 5/23/2018 at 03:00 PM in Courtroorn 20D,500 Pearl Street, New York,
                                            NY 10007 before Magistrate Judge Ona T. Wang. (Signed by Magistrate Judge
                                            Ona T. Wang on 5/1 12018) ("0 (Entered: 05/0 I /20 I 8)

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                                            the Docket Assistant Clerk for case processing. (cf) (Entered: 05i01/2018)

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                      Ind   No l 00ss6/20 I 8
                      SUPREME COURT OF THE STATE OF NEW YORK
                      COLINTY OF NEW YORK


                      MARIAH LOPEZ,
                                                                       Plaintifl

                                                -against-

                      NYC DEPT OF HOMELESS SERVICES, NYC
                      HUMAN RES OURCES ADMINISTRATION,
                      PROJECT RENEV/AL INC, QPS SECURITY INC,
                      WIN INC, CHRISTINE C. QUINN,
                                                                    Defendants.



                        AFFIRMATION OF THOMAS B. ROBERTS IN
                       OPPOSITION TO PLAINTIFF'S MOTION F'OR A
                                        TRO

                                     ZACHARY W. CAR'I'ER
                            Corporation Counsel of the City of New York
                                      Attorney for Defendant
                                         100 Church Street
                                      New York, N.Y' 10007

                                    Of Counsel: Thomas B. Roberts
                                         Tel: (2J 2) 356-0872
                                                Matter   ll.

                       Due and timely service is hereby admitted-
                       Neu, York, N.Y.


                       Attorney   for




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